          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr128


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
ASHTON DURRELL FARLEY.    )
                          )

     THIS MATTER is before the Court on the Motion to Withdraw as

Counsel of Record filed by attorney Noe L. Flores. [Doc. 316].

     The record reflects that the Defendant has been appointed appellate

counsel by the Fourth Circuit. [Doc. 320]. Accordingly, for good cause

shown,

     IT IS, THEREFORE, ORDERED that the Motion to Withdraw as

Counsel of Record [Doc. 316] is GRANTED. Attorney Noe L. Flores is hereby

relieved of any further representation of the Defendant in this matter.

                                          Signed: September 3, 2009




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